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                        EXHIBIT B
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Reg. No. 6,356,315                 Aspen Skiing Company (COLORADO LIMITED LIABILITY COMPANY)
                                   117 Aspen Airport Business Center
Registered May 18, 2021            Aspen, COLORADO 81611
Int. Cl.: 3, 6, 9, 18, 21, 25, 35, CLASS 3: Lip balm
39, 41, 43
                                   FIRST USE 5-00-2016; IN COMMERCE 5-00-2016
Service Mark
                                   CLASS 6: Non-luminous and non-mechanical signs made of metal
Trademark
                                   FIRST USE 5-00-2016; IN COMMERCE 5-00-2016
Principal Register                 CLASS 9: Decorative magnets; sunglasses; goggles for sports; goggles and sunglasses
                                   accessories, namely, cases for sunglasses and cases for goggles; phone wallets, namely,
                                   wallets specially adapted to carry cellphones

                                   FIRST USE 5-00-2016; IN COMMERCE 5-00-2016

                                   CLASS 18: Woven fabric tote bags, back packs, duffel bags; umbrellas; wallets;
                                   luggage tags

                                   FIRST USE 5-00-2016; IN COMMERCE 5-00-2016

                                   CLASS 21: Mugs; coasters made of stone; household and kitchen goods, namely,
                                   drinking glasses, shot glasses, bottle openers, wine openers, cutting boards, serving
                                   trays, reusable glass water bottles sold empty; reusable plastic water bottles sold empty;
                                   reusable stainless steel water bottles sold empty; can holders, namely, insulating sleeve
                                   holders for beverage cans

                                   FIRST USE 5-00-2016; IN COMMERCE 5-00-2016

                                   CLASS 25: Clothing, namely, base layers, vests, shirts, t-shirts, sweatshirts, jackets, ski
                                   pants, cycling jerseys, socks, belts, gloves, sweaters, tank tops, sweatpants, shorts;
                                   headwear, namely, visors, caps, hats and beanies; neck gaiters, scarves

                                   FIRST USE 5-00-2016; IN COMMERCE 5-00-2016

                                   CLASS 35: Retail store services in the field of skiing and snowboarding equipment and
                         accessories,
Case No. 1:23-cv-03355-SKC    Documentapparel,1-2
                                               and outdoor sporting goods;USDC
                                                    filed 12/20/23         retail gift shops
                                                                                    Colorado pg 3 of 57
                               FIRST USE 5-00-2016; IN COMMERCE 5-00-2016

                               CLASS 39: Rental of vehicles which are used as sports equipment

                               FIRST USE 5-00-2016; IN COMMERCE 5-00-2016

                               CLASS 41: Ski and snowboard resort services; entertainment services in the nature of
                               providing adventure park facilities, activities and programs; summer resort services,
                               namely, providing recreational facilities for hiking, cycling, mountain biking, fishing,
                               paragliding, climbing, camping; providing outdoor live music, namely, concerts;
                               providing a website featuring information about ski, snow sport, mountain, recreational,
                               and summer resort services, and access pass and ticket programs, namely, information
                               on sporting facilities at a resort; rental of skiing and snowboarding gear and equipment
                               and sports equipment rentals, except vehicles

                               FIRST USE 5-00-2016; IN COMMERCE 5-00-2016

                               CLASS 43: Hotel and guest hospitality services, namely, restaurant services and resort
                               lodging offering food and lodging that promote the health and well-being of patrons;
                               bar, café, cocktail lounge and restaurant services, including sit-down services of food
                               and take-out restaurant services; catering services

                               FIRST USE 5-00-2016; IN COMMERCE 5-00-2016

                               The mark consists of the word "ASPEN" stacked on the top of the word
                               "SNOWMASS", and a stylized drawing of an aspen leaf positioned to the left of the
                               stacked words.

                               SEC. 2(F) as to "ASPEN SNOWMASS"

                               SER. NO. 87-810,657, FILED 02-26-2018




                                      Page: 2 of 3 / RN # 6356315
Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 4 of 57
      REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

    WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
           DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


 Requirements in the First Ten Years*
 What and When to File:


     • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
       years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
        registration will continue in force for the remainder of the ten-year period, calculated from the registration
        date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


     • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
       for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


 Requirements in Successive Ten-Year Periods*
 What and When to File:

     • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
       between every 9th and 10th-year period, calculated from the registration date.*

 Grace Period Filings*

 The above documents will be accepted as timely if filed within six months after the deadlines listed above with the
 payment of an additional fee.

 *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
 extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use (or
 Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO). The
 time periods for filing are based on the U.S. registration date (not the international registration date). The
 deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally
 issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file
 renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying international
 registration at the International Bureau of the World Intellectual Property Organization, under Article 7 of the
 Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the date of the
 international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international
 registration, see http://www.wipo.int/madrid/en/.

 NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
 USPTO website for further information. With the exception of renewal applications for registered
 extensions of protection, you can file the registration maintenance documents referenced above online at
 http://www.uspto.gov.

 NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
 owners/holders who authorize e-mail communication and maintain a current e-mail address with the
 USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
 Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
 available at http://www.uspto.gov.




                                            Page: 3 of 3 / RN # 6356315
     Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 5 of 57




Reg. No. 5,454,139         Aspen Skiing Company (COLORADO LIMITED LIABILITY COMPANY)
                           P.o. Box 1248
Registered Apr. 24, 2018   Aspen, COLORADO 81612

                           CLASS 14: Jewelry; watches; key chains as jewelry, key chains of precious metal; clocks;
Int. Cl.: 14               jewelry boxes
Trademark                  FIRST USE 5-00-2016; IN COMMERCE 5-00-2016

Principal Register         The mark consists of a single leaf design.

                           OWNER OF U.S. REG. NO. 2958232

                           SER. NO. 87-040,567, FILED 05-17-2016
Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 6 of 57
     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

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the payment of an additional fee.

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extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

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owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




                                          Page: 2 of 2 / RN # 5454139
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     Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 8 of 57




Reg. No. 7,087,947                  Aspen Skiing Company (COLORADO LIMITED LIABILITY COMPANY)
                                    117 Aspen Airport Business Center
Registered Jun. 20, 2023            Aspen, COLORADO 81611
Int. Cl.: 3, 4, 6, 9, 14, 16, 18,   CLASS 3: Lip balm
20, 24, 25, 26, 28, 35, 39, 41,
                                    FIRST USE 8-10-2021; IN COMMERCE 8-10-2021
43
                                    CLASS 4: Candles
Service Mark
                                    FIRST USE 8-10-2021; IN COMMERCE 8-10-2021
Trademark
                                    CLASS 6: Non-luminous and non-mechanical signs made of metal
Principal Register
                                    FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                                    CLASS 9: Decorative magnets; sunglasses; goggles for sports; goggles and sunglasses
                                    accessories, namely, cases for sunglasses and cases for goggles; phone wallets, namely,
                                    wallets specially adapted to carry cellphones

                                    FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                                    CLASS 14: Keychains; jewelry

                                    FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                                    CLASS 16: Books, namely, printed books in the field of winter and summer outdoor
                                    sports and recreation; snack packaging boxes made of paper, sold empty

                                    FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                                    CLASS 18: Woven fabric tote bags, back packs, duffel bags; umbrellas; wallets;
                                    luggage tags

                                    FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                                    CLASS 20: Work of art made of wood, namely, wall art; pillows, picture frames

                                    FIRST USE 8-10-2021; IN COMMERCE 8-10-2021
                         CLASS
Case No. 1:23-cv-03355-SKC     24: Blanket1-2
                            Document       throws, cashmere
                                                filed       blankets,USDC
                                                       12/20/23       pet blankets, children'spg
                                                                              Colorado         blankets,
                                                                                                  9 of 57baby
                                blankets, woollen blankets, fleece blankets, bed blankets

                                FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                                CLASS 25: Clothing, namely, base layers, vests, shirts, t-shirts, sweatshirts, jackets, ski
                                pants, cycling jerseys, socks, belts, gloves, sweaters, tank tops, sweatpants, shorts;
                                headwear, namely, visors, caps, hats and beanies; neck gaiters, scarves

                                FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                                CLASS 26: Ornamental cloth patches; ornamental novelty pins

                                FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                                CLASS 28: Christmas tree ornaments; snow globes; plush toys; stuffed toy animals;
                                games, namely, tabletop games, chess games, dart games, dice games, card games,
                                board games; sporting goods and equipment, namely, skis, snowboards, ski poles;
                                exercise equipment, namely, exercise balls, stability cushions, and resistance bands

                                FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                                CLASS 35: Retail store services in the field of skiing and snowboarding equipment and
                                accessories, apparel, and outdoor sporting goods; retail gift shops

                                FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                                CLASS 39: Rental of vehicles which are used as sports equipment

                                FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                                CLASS 41: Ski and snowboard resort services; entertainment services in the nature of
                                providing adventure park facilities, activities and programs; summer resort services,
                                namely, providing recreational facilities for hiking, cycling, mountain biking, fishing,
                                paragliding, climbing, camping; providing outdoor live music, namely, concerts;
                                providing a website featuring information about ski-, snow sport-, mountain-,
                                recreational-, and summer-resort services, and access pass and ticket programs, namely,
                                information on sporting facilities at a resort; rental of skiing and snowboarding gear and
                                equipment, and sports equipment rentals, except vehicles

                                FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                                CLASS 43: Hotel and guest hospitality services, namely, restaurant services and resort
                                lodging offering food and lodging that promote the health and well-being of patrons;
                                bar, café, cocktail lounge and restaurant services, including sit-down services of food
                                and take-out restaurant services; catering services

                                FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                                The mark consists of the word "ASPEN" stacked on the top of the word
                                "SNOWMASS", and a stylized drawing of an aspen leaf positioned to the left of the
                                stacked words.

                                SEC. 2(F) as to "ASPEN SNOWMASS"

                                SER. NO. 90-975,905, FILED 01-20-2021




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Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 10 of 57
       REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

     WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
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  Requirements in the First Ten Years*
  What and When to File:


      • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
        years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
         registration will continue in force for the remainder of the ten-year period, calculated from the registration
         date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


      • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
        for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


  Requirements in Successive Ten-Year Periods*
  What and When to File:

      • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
        between every 9th and 10th-year period, calculated from the registration date.*

  Grace Period Filings*

  The above documents will be accepted as timely if filed within six months after the deadlines listed above with the
  payment of an additional fee.

  *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
  extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use (or
  Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO). The
  time periods for filing are based on the U.S. registration date (not the international registration date). The
  deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally
  issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file
  renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying international
  registration at the International Bureau of the World Intellectual Property Organization, under Article 7 of the
  Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the date of the
  international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international
  registration, see http://www.wipo.int/madrid/en/.

  NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
  USPTO website for further information. With the exception of renewal applications for registered
  extensions of protection, you can file the registration maintenance documents referenced above online at
  http://www.uspto.gov.

  NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
  owners/holders who authorize e-mail communication and maintain a current e-mail address with the
  USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
  Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
  available at http://www.uspto.gov.




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Reg. No. 7,076,466          Aspen Skiing Company (COLORADO LIMITED LIABILITY COMPANY)
                            117 Aspen Airport Business Center
Registered Jun. 06, 2023    Aspen, COLORADO 81611
Int. Cl.: 35, 41, 43        CLASS 35: Promoting and administering amateur ski programs and activities
Service Mark                FIRST USE 5-12-2021; IN COMMERCE 5-12-2021
Principal Register          CLASS 41: Ski and snowboard resort services; entertainment services in the nature of
                            providing adventure park facilities; summer resort services, namely, providing
                            recreational facilities for hiking, cycling, mountain biking, fishing, paragliding,
                            climbing, camping; providing outdoor live music, namely, concerts; providing a website
                            featuring information about ski-, snow sport-, mountain-, recreational-, and summer-
                            resort entertainment services, and access pass and ticket programs, namely, information
                            on sporting facilities at a resort; rental of skiing and snowboarding gear and equipment,
                            and sports equipment rentals, except vehicles

                            FIRST USE 5-12-2021; IN COMMERCE 5-12-2021

                            CLASS 43: Providing a website featuring information about summer resort
                            accommodations

                            FIRST USE 5-12-2021; IN COMMERCE 5-12-2021

                            The mark consists of the word "ASPENX" and a stylized drawing of an aspen leaf
                            positioned to the left of the word "ASPENX".

                            SER. NO. 97-019,511, FILED 09-09-2021
Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 12 of 57
       REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

     WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
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  Requirements in the First Ten Years*
  What and When to File:


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        years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
         registration will continue in force for the remainder of the ten-year period, calculated from the registration
         date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


      • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
        for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


  Requirements in Successive Ten-Year Periods*
  What and When to File:

      • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
        between every 9th and 10th-year period, calculated from the registration date.*

  Grace Period Filings*

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  payment of an additional fee.

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  issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file
  renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying international
  registration at the International Bureau of the World Intellectual Property Organization, under Article 7 of the
  Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the date of the
  international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international
  registration, see http://www.wipo.int/madrid/en/.

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  Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
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    Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 13 of 57




Reg. No. 7,196,998                 Aspen Skiing Company (COLORADO LIMITED LIABILITY COMPANY)
                                   117 Aspen Airport Business Center
Registered Oct. 17, 2023           Aspen, COLORADO 81611
Int. Cl.: 3, 4, 9, 14, 16, 18, 20, CLASS 3: Lip balm
24, 25, 26, 28, 35
                                   FIRST USE 5-12-2021; IN COMMERCE 5-12-2021
Service Mark
                                   CLASS 4: Candles
Trademark
                                   FIRST USE 5-12-2021; IN COMMERCE 5-12-2021
Principal Register                 CLASS 9: Decorative magnets; sunglasses; goggles for sports; goggles and sunglasses
                                   accessories, namely, cases for sunglasses and cases for goggles; phone wallets, namely,
                                   wallets specially adapted to carry cellphones

                                   FIRST USE 5-12-2021; IN COMMERCE 5-12-2021

                                   CLASS 14: Keychains; jewelry

                                   FIRST USE 5-12-2021; IN COMMERCE 5-12-2021

                                   CLASS 16: Books, namely, printed books in the field of winter and summer outdoor
                                   sports and recreation; snack packaging boxes made of paper, sold empty

                                   FIRST USE 5-12-2021; IN COMMERCE 5-12-2021

                                   CLASS 18: Woven fabric tote bags, back packs, duffel bags; umbrellas; wallets;
                                   luggage tags

                                   FIRST USE 5-12-2021; IN COMMERCE 5-12-2021

                                   CLASS 20: Work of art made of wood, namely, wall art; pillows, picture frames

                                   FIRST USE 5-12-2021; IN COMMERCE 5-12-2021

                                   CLASS 24: Blanket throws, cashmere blankets, pet blankets, children's blankets, baby
                                   blankets, woollen blankets, fleece blankets, bed blankets

                                   FIRST USE 5-12-2021; IN COMMERCE 5-12-2021

                                   CLASS 25: Clothing, namely, base layers, vests, shirts, t-shirts, sweatshirts, jackets, ski
                         pants,
Case No. 1:23-cv-03355-SKC      cycling jerseys,
                             Document       1-2 socks,
                                                  filed belts, gloves, sweaters,
                                                         12/20/23                tank tops, sweatpants,
                                                                       USDC Colorado          pg 14 ofshorts;
                                                                                                        57
                                 headwear, namely, visors, caps, hats and beanies; neck gaiters, scarves

                                 FIRST USE 5-12-2021; IN COMMERCE 5-12-2021

                                 CLASS 26: Ornamental cloth patches; ornamental novelty pins

                                 FIRST USE 5-12-2021; IN COMMERCE 5-12-2021

                                 CLASS 28: Christmas tree ornaments; snow globes; plush toys; stuffed toy animals;
                                 games, namely, tabletop games, chess games, dart games, dice games, card games,
                                 board games; sporting goods and equipment, namely, skis, snowboards, ski poles;
                                 exercise equipment, namely, exercise balls, stability cushions, and resistance bands

                                 FIRST USE 5-12-2021; IN COMMERCE 5-12-2021

                                 CLASS 35: Retail store services in the field of skiing and snowboarding equipment and
                                 accessories, apparel, and outdoor sporting goods; retail gift shops

                                 FIRST USE 5-12-2021; IN COMMERCE 5-12-2021

                                 The mark consists of the word "ASPENX" and a stylized drawing of an aspen leaf
                                 positioned to the left of the word "ASPENX".

                                 SER. NO. 90-978,239, FILED 04-29-2021




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Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 15 of 57
       REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

     WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
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  Requirements in the First Ten Years*
  What and When to File:


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        years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
         registration will continue in force for the remainder of the ten-year period, calculated from the registration
         date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


      • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
        for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


  Requirements in Successive Ten-Year Periods*
  What and When to File:

      • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
        between every 9th and 10th-year period, calculated from the registration date.*

  Grace Period Filings*

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  payment of an additional fee.

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  extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use (or
  Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO). The
  time periods for filing are based on the U.S. registration date (not the international registration date). The
  deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally
  issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file
  renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying international
  registration at the International Bureau of the World Intellectual Property Organization, under Article 7 of the
  Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the date of the
  international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international
  registration, see http://www.wipo.int/madrid/en/.

  NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
  USPTO website for further information. With the exception of renewal applications for registered
  extensions of protection, you can file the registration maintenance documents referenced above online at
  http://www.uspto.gov.

  NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
  owners/holders who authorize e-mail communication and maintain a current e-mail address with the
  USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
  Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
  available at http://www.uspto.gov.




                                             Page: 3 of 3 / RN # 7196998
Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 16 of 57
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Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 18 of 57
    Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 19 of 57




Reg. No. 7,081,659                  Aspen Skiing Company (COLORADO LIMITED LIABILITY COMPANY)
                                    117 Aspen Airport Business Center
Registered Jun. 13, 2023            Aspen, COLORADO 81611
Int. Cl.: 3, 4, 6, 9, 14, 16, 18,   CLASS 3: Lip balm
20, 24, 25, 26, 28, 35, 39, 41,
                                    FIRST USE 5-00-2016; IN COMMERCE 5-00-2016
43
                                    CLASS 4: Candles
Service Mark
                                    FIRST USE 8-10-2021; IN COMMERCE 8-10-2021
Trademark
                                    CLASS 6: Non-luminous and non-mechanical signs made of metal
Principal Register
                                    FIRST USE 5-00-2016; IN COMMERCE 5-00-2016

                                    CLASS 9: Decorative magnets; sunglasses; goggles for sports; goggles and sunglasses
                                    accessories, namely, cases for sunglasses and cases for goggles; phone wallets, namely,
                                    wallets specially adapted to carry cellphones

                                    FIRST USE 5-00-2016; IN COMMERCE 5-00-2016

                                    CLASS 14: Keychains; jewelry

                                    FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                                    CLASS 16: Books, namely, printed books in the field of winter and summer outdoor
                                    sports and recreation; snack packaging boxes made of paper, sold empty

                                    FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                                    CLASS 18: Woven fabric tote bags, back packs, duffel bags; umbrellas; wallets;
                                    luggage tags

                                    FIRST USE 5-00-2016; IN COMMERCE 5-00-2016

                                    CLASS 20: Work of art made of wood, namely, wall art; pillows, picture frames

                                    FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                                    CLASS 24: Blanket throws, cashmere blankets, pet blankets, children's blankets, baby
                         blankets,
Case No. 1:23-cv-03355-SKC         woollen blankets,
                             Document       1-2 filedfleece12/20/23
                                                            blankets, bedUSDC
                                                                         blankets Colorado pg 20 of 57

                               FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                               CLASS 25: Clothing, namely, base layers, vests, shirts, t-shirts, sweatshirts, jackets, ski
                               pants, cycling jerseys, socks, belts, gloves, sweaters, tank tops, sweatpants, shorts;
                               headwear, namely, visors, caps, hats and beanies; neck gaiters, scarves

                               FIRST USE 5-00-2016; IN COMMERCE 5-00-2016

                               CLASS 26: Ornamental cloth patches; ornamental novelty pins

                               FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                               CLASS 28: Christmas tree ornaments; snow globes; plush toys; stuffed toy animals;
                               games, namely, tabletop games, chess games, dart games, dice games, card games,
                               board games; sporting goods and equipment, namely, skis, snowboards, ski poles;
                               exercise equipment, namely, exercise balls, stability cushions, and resistance bands

                               FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                               CLASS 35: Retail store services in the field of skiing and snowboarding equipment and
                               accessories, apparel, and outdoor sporting goods; retail gift shops

                               FIRST USE 10-00-2005; IN COMMERCE 10-00-2005

                               CLASS 39: Rental of vehicles which are used as sports equipment

                               FIRST USE 10-00-2005; IN COMMERCE 10-00-2005

                               CLASS 41: Ski and snowboard resort services; entertainment services in the nature of
                               providing adventure park facilities, activities and programs; summer resort services,
                               namely, providing recreational facilities for hiking, cycling, mountain biking, fishing,
                               paragliding, climbing, camping; providing outdoor live music, namely, concerts;
                               providing a website featuring information about ski-, snow sport-, mountain-,
                               recreational-, and summer- resort services, and access pass and ticket programs, namely,
                               information on sporting facilities at a resort; rental of skiing and snowboarding gear and
                               equipment, and sports equipment rentals, except vehicles

                               FIRST USE 6-30-2000; IN COMMERCE 6-30-2000

                               CLASS 43: Hotel and guest hospitality services, namely, restaurant services and resort
                               lodging offering food and lodging that promote the health and well-being of patrons;
                               bar, café, cocktail lounge and restaurant services, including sit-down services of food
                               and take-out restaurant services; catering services

                               FIRST USE 5-00-2016; IN COMMERCE 5-00-2016

                               THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                               ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                               SEC.2(F)

                               SER. NO. 90-975,903, FILED 01-20-2021




                                      Page: 2 of 3 / RN # 7081659
Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 21 of 57
       REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

     WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
            DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


  Requirements in the First Ten Years*
  What and When to File:


      • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
        years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
         registration will continue in force for the remainder of the ten-year period, calculated from the registration
         date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


      • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
        for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


  Requirements in Successive Ten-Year Periods*
  What and When to File:

      • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
        between every 9th and 10th-year period, calculated from the registration date.*

  Grace Period Filings*

  The above documents will be accepted as timely if filed within six months after the deadlines listed above with the
  payment of an additional fee.

  *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
  extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use (or
  Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO). The
  time periods for filing are based on the U.S. registration date (not the international registration date). The
  deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally
  issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file
  renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying international
  registration at the International Bureau of the World Intellectual Property Organization, under Article 7 of the
  Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the date of the
  international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international
  registration, see http://www.wipo.int/madrid/en/.

  NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
  USPTO website for further information. With the exception of renewal applications for registered
  extensions of protection, you can file the registration maintenance documents referenced above online at
  http://www.uspto.gov.

  NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
  owners/holders who authorize e-mail communication and maintain a current e-mail address with the
  USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
  Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
  available at http://www.uspto.gov.




                                             Page: 3 of 3 / RN # 7081659
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Reg. No. 5,572,092         Aspen Skiing Company (COLORADO LIMITED LIABILITY COMPANY)
                           P.o. Box 1248
Registered Sep. 25, 2018   Aspen, COLORADO 81612

                           CLASS 25: Clothing, namely, base layers, vests, shirts, t-shirts, sweatshirts, robes, bathrobes,
Int. Cl.: 25, 41, 43       jackets, ski pants, cycling jerseys, socks, belts, gloves; headwear, namely, visors, caps, hats
                           and beanies; footwear
Service Mark
                           FIRST USE 9-18-2017; IN COMMERCE 9-18-2017
Trademark
                           CLASS 41: Ski and snowboard resort services; entertainment services in the nature of
Principal Register         providing adventure park facilities, activities and programs; summer resort services, namely,
                           providing recreational facilities for hiking, cycling, mountain biking, fishing, golfing,
                           paragliding, tennis, climbing, camping; providing outdoor live music; providing a website
                           featuring information about ski, snow sport, mountain, recreational, and summer resort
                           services, and access pass and ticket programs, namely, information on sporting facilities at a
                           resort

                           FIRST USE 9-18-2017; IN COMMERCE 9-18-2017

                           CLASS 43: Hotel and guest hospitality services, namely, restaurant resort services offering
                           food and lodging that promote the health and well-being of patrons; bar, café, lounge and
                           restaurant services, including sit-down services of food and take-out restaurant services;
                           catering services

                           FIRST USE 9-18-2017; IN COMMERCE 9-18-2017

                           The mark consists of two concentric circles with the outer circle appearing with a border. In
                           the outer circle are the words "THE ASPEN WAY LOVE RESPECT COMMIT UNITY"
                           positioned around the circumference of the smaller circle with the asterisk at the beginning
                           and the end of the wording "THE ASPEN WAY" and the dashes between the words "UNITY
                           LOVE RESPECT COMMIT". A stylized drawing of an aspen leaf is positioned in the center
                           of the inner circle.

                           SER. NO. 87-687,621, FILED 11-16-2017
Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 24 of 57
      REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
   WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
          DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

 Requirements in the First Ten Years*
 What and When to File:

      First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
      years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
      registration will continue in force for the remainder of the ten-year period, calculated from the registration
      date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

      Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
      for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


 Requirements in Successive Ten-Year Periods*
 What and When to File:

      You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
      between every 9th and 10th-year period, calculated from the registration date.*


 Grace Period Filings*

 The above documents will be accepted as timely if filed within six months after the deadlines listed above with
 the payment of an additional fee.

 *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
 extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
 (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
 The time periods for filing are based on the U.S. registration date (not the international registration date). The
 deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
 nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
 do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
 international registration at the International Bureau of the World Intellectual Property Organization, under
 Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
 date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
 international registration, see http://www.wipo.int/madrid/en/.

 NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
 USPTO website for further information. With the exception of renewal applications for registered
 extensions of protection, you can file the registration maintenance documents referenced above online at h
 ttp://www.uspto.gov.

 NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
 owners/holders who authorize e-mail communication and maintain a current e-mail address with the
 USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
 Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
 available at http://www.uspto.gov.




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        Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 26 of 57



       Generated on: This page was generated by TSDR on 2023-12-08 14:30:22 EST
                 Mark: ASPENX BEACH CLUB




  US Serial Number: 97679747                                                        Application Filing Nov. 16, 2022
                                                                                                Date:
             Register: Principal
           Mark Type: Trademark, Service Mark
     TM5 Common Status                                                           LIVE/APPLICATION/Published for Opposition
            Descriptor:
                                                                                 A pending trademark application has been examined by the Office and has
                                                                                 been published in a way that provides an opportunity for the public to oppose
                                                                                 its registration.

               Status: Notice of Allowance (NOA) sent (issued) to the applicant. Applicant must file a Statement of Use or Extension Request within six
                       months of the NOA issuance date.
         Status Date: Nov. 28, 2023
Publication Date:Oct. 03, 2023Notice of Allowance Date:Nov. 28, 2023

                                                                   Mark Information
          Mark Literal ASPENX BEACH CLUB
           Elements:
 Standard Character No
            Claim:
       Mark Drawing 5 - AN ILLUSTRATION DRAWING WITH WORD(S)/LETTER(S)/NUMBER(S) IN STYLIZED FORM
              Type:
       Description of The mark consists of the stylized wording "ASPENX BEACH CLUB", in which the word "ASPENX" is shown in a larger font and
               Mark: stacked above the wording "BEACH CLUB", which is in a smaller font.
   Color(s) Claimed: Color is not claimed as a feature of the mark.
          Disclaimer: "CLUB"

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: woven fabric tote bags, back packs, duffel bags; umbrellas; wallets; luggage tags
         International 018 - Primary Class                                              U.S Class(es): 001, 002, 003, 022, 041
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b)

                  For: mugs; coasters made of stone; household and kitchen goods, namely, drinking glasses, shot glasses, bottle openers, wine openers,
                       cutting boards, serving trays, reusable glass water bottles sold empty; reusable plastic water bottles sold empty; reusable stainless
                       steel water bottles sold empty; can holders, namely, insulating sleeve holders for beverage cans
         International 021 - Primary Class                                              U.S Class(es): 002, 013, 023, 029, 030, 033, 040, 050
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b)

                  For: blanket throws, cashmere blankets, pet blankets, children's blankets, baby blankets, woolen blankets, fleece blankets, bed blankets
    Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 27 of 57



    International 024 - Primary Class                                             U.S Class(es): 042, 050
       Class(es):
    Class Status: ACTIVE
           Basis: 1(b)

             For: clothing, namely, base layers, vests, shirts, t-shirts, sweatshirts, jackets, ski pants, cycling jerseys, socks, belts, gloves, sweaters, tank
                  tops, sweatpants, shorts; headwear, namely, visors, caps, hats and beanies; neck gaiters, scarves
    International 025 - Primary Class                                             U.S Class(es): 022, 039
       Class(es):
    Class Status: ACTIVE
           Basis: 1(b)

             For: retail store services in the field of skiing and snowboarding equipment and accessories, apparel, and outdoor sporting goods; retail gift
                  shops
    International 035 - Primary Class                                             U.S Class(es): 100, 101, 102
       Class(es):
    Class Status: ACTIVE
           Basis: 1(b)

             For: entertainment services in the nature of hosting social entertainment events; entertainment services in the nature of live musical
                  performances and providing pre-recorded musical performances; day club services, namely, arranging, organizing, and hosting social
                  events, get-togethers, and parties, ALL FOR ENTERTAINMENT PURPOSES; entertainment services, namely, conducting parties
                  primarily featuring live and recorded music, and also including other entertainment plus food and beverages, none of the foregoing
                  services taking place on a beach
    International 041 - Primary Class                                             U.S Class(es): 100, 101, 107
       Class(es):
    Class Status: ACTIVE
           Basis: 1(b)

             For: restaurant, bar and catering services, none of the foregoing services taking place on a beach
    International 043 - Primary Class                                             U.S Class(es): 100, 101
       Class(es):
    Class Status: ACTIVE
           Basis: 1(b)

                                                 Basis Information (Case Level)
       Filed Use: No                                                              Currently Use: No
       Filed ITU: Yes                                                              Currently ITU: Yes
       Filed 44D: No                                                              Currently 44E: No
       Filed 44E: No                                                              Currently 66A: No
       Filed 66A: No                                                        Currently No Basis: No
  Filed No Basis: No

                                                 Current Owner(s) Information
    Owner Name: Aspen Skiing Company
 Owner Address: 117 Aspen Airport Business Center
                Aspen, COLORADO UNITED STATES 81611
Legal Entity Type: LIMITED LIABILITY COMPANY                                   State or Country COLORADO
                                                                              Where Organized:

                                         Attorney/Correspondence Information
                                                                       Attorney of Record
  Attorney Name: Ian L. Saffer                                                  Docket Number: 0964.112-TM
Attorney Primary efs@adseroip.com                                                 Attorney Email Yes
 Email Address:                                                                      Authorized:
                                                                         Correspondent
  Correspondent Ian L. Saffer
          Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 28 of 57



      Name/Address: Quarles & Brady LLP
                    8210 SOUTHPARK TERRACE
                    LITTLETON, COLORADO UNITED STATES 80120
                Phone: 303-268-0066                                                Fax: 833-793-0703
   Correspondent e- efs@adseroip.com                                Correspondent e- Yes
              mail:                                                  mail Authorized:
                                                     Domestic Representative - Not Found

                                                     Prosecution History
                                                                                                       Proceeding
   Date              Description
                                                                                                       Number
Nov. 28, 2023      NOA E-MAILED - SOU REQUIRED FROM APPLICANT
Oct. 03, 2023      OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED
Oct. 03, 2023      PUBLISHED FOR OPPOSITION
Sep. 13, 2023      NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED
Aug. 29, 2023      APPROVED FOR PUB - PRINCIPAL REGISTER
Aug. 01, 2023      EXAMINER'S AMENDMENT ENTERED
Aug. 01, 2023      NOTIFICATION OF EXAMINERS AMENDMENT E-MAILED
Aug. 01, 2023      EXAMINERS AMENDMENT E-MAILED
Aug. 01, 2023      EXAMINERS AMENDMENT -WRITTEN
Jul. 24, 2023      ASSIGNED TO EXAMINER
Mar. 13, 2023      TEAS CHANGE OF CORRESPONDENCE RECEIVED
Mar. 13, 2023      ATTORNEY/DOM.REP.REVOKED AND/OR APPOINTED
Mar. 13, 2023      TEAS REVOKE/APP/CHANGE ADDR OF ATTY/DOM REP RECEIVED
Dec. 07, 2022      NEW APPLICATION OFFICE SUPPLIED DATA ENTERED
Nov. 19, 2022      NEW APPLICATION ENTERED

                                          TM Staff and Location Information
                                                            TM Staff Information
          TM Attorney: REGAN, JOHN B                                      Law Office LAW OFFICE 113
                                                                          Assigned:
                                                                File Location
   Current Location: INTENT TO USE SECTION                          Date in Location: Nov. 28, 2023
        Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 29 of 57



       Generated on: This page was generated by TSDR on 2023-12-08 14:16:41 EST
                 Mark: ASPEN SNOWMASS




  US Serial Number: 90476606                                                        Application Filing Jan. 20, 2021
                                                                                                Date:
             Register: Principal
           Mark Type: Trademark
     TM5 Common Status                                                           LIVE/APPLICATION/Published for Opposition
            Descriptor:
                                                                                 A pending trademark application has been examined by the Office and has
                                                                                 been published in a way that provides an opportunity for the public to oppose
                                                                                 its registration.

               Status: Notice of Allowance (NOA) sent (issued) to the applicant. Applicant must file a Statement of Use or Extension Request within six
                       months of the NOA issuance date.
         Status Date: Nov. 14, 2023
Publication Date:Sep. 19, 2023Notice of Allowance Date:Nov. 14, 2023

                                                                   Mark Information
          Mark Literal ASPEN SNOWMASS
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                      Related Properties Information
           Parent Of: 90975903

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Mugs; coasters made of stone; household and kitchen goods, namely, drinking glasses, shot glasses, bottle openers, wine openers,
                       cutting boards, serving trays, reusable glass water bottles sold empty; reusable plastic water bottles sold empty; reusable stainless
                       steel water bottles sold empty; can holders, namely, insulating sleeve holders for beverage cans
         International 021 - Primary Class                                              U.S Class(es): 002, 013, 023, 029, 030, 033, 040, 050
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b)

                                                       Basis Information (Case Level)
            Filed Use: No                                                              Currently Use: No
            Filed ITU: Yes                                                              Currently ITU: Yes
            Filed 44D: No                                                               Currently 44E: No
            Filed 44E: No                                                              Currently 66A: No
          Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 30 of 57



             Filed 66A: No                                          Currently No Basis: No
      Filed No Basis: No

                                              Current Owner(s) Information
          Owner Name: Aspen Skiing Company
     Owner Address: 117 Aspen Airport Business Center
                    Aspen, COLORADO UNITED STATES 81611
   Legal Entity Type: LIMITED LIABILITY COMPANY                       State or Country COLORADO
                                                                     Where Organized:

                                        Attorney/Correspondence Information
                                                              Attorney of Record
      Attorney Name: Ian L. Saffer                                     Docket Number: 0964.103-TM
    Attorney Primary efs@adseroip.com                                   Attorney Email Yes
     Email Address:                                                        Authorized:
                                                                Correspondent
      Correspondent Ian L. Saffer
      Name/Address: Quarles & Brady LLP
                    8210 SOUTHPARK TERRACE
                    LITTLETON, COLORADO UNITED STATES 80120
                Phone: 303-268-0066                                                Fax: 303-268-0065
   Correspondent e- efs@adseroip.com                                 Correspondent e- Yes
              mail:                                                   mail Authorized:
                                                     Domestic Representative - Not Found

                                                     Prosecution History
                                                                                                       Proceeding
   Date              Description
                                                                                                       Number
Nov. 14, 2023      NOA E-MAILED - SOU REQUIRED FROM APPLICANT
Oct. 16, 2023      CASE ASSIGNED TO INTENT TO USE PARALEGAL
Sep. 19, 2023      OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED
Sep. 19, 2023      PUBLISHED FOR OPPOSITION
Aug. 30, 2023      NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED
Aug. 11, 2023      APPROVED FOR PUB - PRINCIPAL REGISTER
Jul. 14, 2023      TEAS/EMAIL CORRESPONDENCE ENTERED
Jul. 14, 2023      CORRESPONDENCE RECEIVED IN LAW OFFICE
Jul. 14, 2023      APPLICANT/CORRESPONDENCE CHANGES (NON-RESPONSIVE) ENTERED
Jul. 13, 2023      ASSIGNED TO LIE
Mar. 13, 2023      TEAS CHANGE OF CORRESPONDENCE RECEIVED
Mar. 13, 2023      ATTORNEY/DOM.REP.REVOKED AND/OR APPOINTED
Mar. 13, 2023      TEAS REVOKE/APP/CHANGE ADDR OF ATTY/DOM REP RECEIVED
Mar. 13, 2023      TEAS RESPONSE TO SUSPENSION INQUIRY RECEIVED
Feb. 06, 2023      REPORT COMPLETED SUSPENSION CHECK CASE STILL SUSPENDED
Jun. 07, 2022      REPORT COMPLETED SUSPENSION CHECK CASE STILL SUSPENDED
Nov. 05, 2021      NOTIFICATION OF LETTER OF SUSPENSION E-MAILED
Nov. 05, 2021      LETTER OF SUSPENSION E-MAILED
Nov. 05, 2021      SUSPENSION LETTER WRITTEN
Nov. 05, 2021      EXAMINER'S AMENDMENT ENTERED
Nov. 05, 2021      NOTIFICATION OF EXAMINERS AMENDMENT E-MAILED
Nov. 05, 2021      EXAMINERS AMENDMENT E-MAILED
Nov. 05, 2021      EXAMINERS AMENDMENT -WRITTEN
Oct. 28, 2021      DIVISIONAL PROCESSING COMPLETE
Oct. 08, 2021      DIVISIONAL REQUEST RECEIVED
Oct. 27, 2021      CASE ASSIGNED TO INTENT TO USE PARALEGAL
Oct. 09, 2021      TEAS/EMAIL CORRESPONDENCE ENTERED
        Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 31 of 57



Oct. 08, 2021   CORRESPONDENCE RECEIVED IN LAW OFFICE
Oct. 08, 2021   TEAS RESPONSE TO OFFICE ACTION RECEIVED
Oct. 08, 2021   TEAS REQUEST TO DIVIDE RECEIVED
Aug. 14, 2021   NOTIFICATION OF NON-FINAL ACTION E-MAILED
Aug. 14, 2021   NON-FINAL ACTION E-MAILED
Aug. 14, 2021   NON-FINAL ACTION WRITTEN
Aug. 03, 2021   ASSIGNED TO EXAMINER
Apr. 21, 2021   NEW APPLICATION OFFICE SUPPLIED DATA ENTERED
Jan. 23, 2021   NEW APPLICATION ENTERED

                                       TM Staff and Location Information
                                                            TM Staff Information
        TM Attorney: REGAN, JOHN B                                        Law Office LAW OFFICE 113
                                                                          Assigned:
                                                               File Location
   Current Location: INTENT TO USE SECTION                          Date in Location: Nov. 14, 2023
        Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 32 of 57



       Generated on: This page was generated by TSDR on 2023-12-08 14:17:18 EST
                 Mark: ASPENX BEACH CLUB




  US Serial Number: 97679741                                                        Application Filing Nov. 16, 2022
                                                                                                Date:
             Register: Principal
           Mark Type: Trademark, Service Mark
     TM5 Common Status                                                           LIVE/APPLICATION/Published for Opposition
            Descriptor:
                                                                                 A pending trademark application has been examined by the Office and has
                                                                                 been published in a way that provides an opportunity for the public to oppose
                                                                                 its registration.

               Status: Notice of Allowance (NOA) sent (issued) to the applicant. Applicant must file a Statement of Use or Extension Request within six
                       months of the NOA issuance date.
         Status Date: Nov. 28, 2023
Publication Date:Oct. 03, 2023Notice of Allowance Date:Nov. 28, 2023

                                                                   Mark Information
          Mark Literal ASPENX BEACH CLUB
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:
          Disclaimer: "CLUB"

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: woven fabric tote bags, back packs, duffel bags; umbrellas; wallets; luggage tags
         International 018 - Primary Class                                              U.S Class(es): 001, 002, 003, 022, 041
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b)

                  For: mugs; coasters made of stone; household and kitchen goods, namely, drinking glasses, shot glasses, bottle openers, wine openers,
                       cutting boards, serving trays, reusable glass water bottles sold empty; reusable plastic water bottles sold empty; reusable stainless
                       steel water bottles sold empty; can holders, namely, insulating sleeve holders for beverage cans
         International 021 - Primary Class                                              U.S Class(es): 002, 013, 023, 029, 030, 033, 040, 050
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b)

                  For: blanket throws, cashmere blankets, pet blankets, children's blankets, baby blankets, woolen blankets, fleece blankets, bed blankets
         International 024 - Primary Class                                              U.S Class(es): 042, 050
            Class(es):
        Class Status: ACTIVE
    Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 33 of 57



           Basis: 1(b)

             For: clothing, namely, base layers, vests, shirts, t-shirts, sweatshirts, jackets, ski pants, cycling jerseys, socks, belts, gloves, sweaters, tank
                  tops, sweatpants, shorts; headwear, namely, visors, caps, hats and beanies; neck gaiters, scarves
    International 025 - Primary Class                                             U.S Class(es): 022, 039
       Class(es):
    Class Status: ACTIVE
           Basis: 1(b)

             For: retail store services in the field of skiing and snowboarding equipment and accessories, apparel, and outdoor sporting goods; retail gift
                  shops
    International 035 - Primary Class                                             U.S Class(es): 100, 101, 102
       Class(es):
    Class Status: ACTIVE
           Basis: 1(b)

             For: entertainment services in the nature of hosting social entertainment events; entertainment services in the nature of live musical
                  performances and providing pre-recorded musical performances; day club services, namely, arranging, organizing, and hosting social
                  events, get-togethers, and parties, ALL FOR ENTERTAINMENT PURPOSES; entertainment services, namely, conducting parties
                  primarily featuring live and recorded music, and also including other entertainment plus food and beverages, none of the foregoing
                  services taking place on a beach
    International 041 - Primary Class                                             U.S Class(es): 100, 101, 107
       Class(es):
    Class Status: ACTIVE
           Basis: 1(b)

             For: restaurant, bar and catering services, none of the foregoing services taking place on a beach
    International 043 - Primary Class                                             U.S Class(es): 100, 101
       Class(es):
    Class Status: ACTIVE
           Basis: 1(b)

                                                 Basis Information (Case Level)
       Filed Use: No                                                              Currently Use: No
       Filed ITU: Yes                                                              Currently ITU: Yes
       Filed 44D: No                                                              Currently 44E: No
       Filed 44E: No                                                              Currently 66A: No
       Filed 66A: No                                                        Currently No Basis: No
  Filed No Basis: No

                                                 Current Owner(s) Information
    Owner Name: Aspen Skiing Company
 Owner Address: 117 Aspen Airport Business Center
                Aspen, COLORADO UNITED STATES 81611
Legal Entity Type: LIMITED LIABILITY COMPANY                                   State or Country COLORADO
                                                                              Where Organized:

                                         Attorney/Correspondence Information
                                                                       Attorney of Record
  Attorney Name: Ian L. Saffer                                                  Docket Number: 0964.111-TM
Attorney Primary efs@adseroip.com                                                 Attorney Email Yes
 Email Address:                                                                      Authorized:
                                                                         Correspondent
  Correspondent Ian L. Saffer
  Name/Address: Quarles & Brady LLP
                8210 SOUTHPARK TERRACE
                LITTLETON, COLORADO UNITED STATES 80120
          Phone: 303-268-0066                                                                Fax: 833-793-0703
          Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 34 of 57



   Correspondent e- efs@adseroip.com                              Correspondent e- Yes
              mail:                                                mail Authorized:
                                                   Domestic Representative - Not Found

                                                   Prosecution History
                                                                                                    Proceeding
   Date             Description
                                                                                                    Number
Nov. 28, 2023    NOA E-MAILED - SOU REQUIRED FROM APPLICANT
Oct. 03, 2023    OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED
Oct. 03, 2023    PUBLISHED FOR OPPOSITION
Sep. 13, 2023    NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED
Aug. 28, 2023    APPROVED FOR PUB - PRINCIPAL REGISTER
Aug. 01, 2023    EXAMINER'S AMENDMENT ENTERED
Aug. 01, 2023    NOTIFICATION OF EXAMINERS AMENDMENT E-MAILED
Aug. 01, 2023    EXAMINERS AMENDMENT E-MAILED
Aug. 01, 2023    EXAMINERS AMENDMENT -WRITTEN
Jul. 24, 2023    ASSIGNED TO EXAMINER
Mar. 13, 2023    TEAS CHANGE OF CORRESPONDENCE RECEIVED
Mar. 13, 2023    ATTORNEY/DOM.REP.REVOKED AND/OR APPOINTED
Mar. 13, 2023    TEAS REVOKE/APP/CHANGE ADDR OF ATTY/DOM REP RECEIVED
Dec. 07, 2022    NEW APPLICATION OFFICE SUPPLIED DATA ENTERED
Nov. 19, 2022    NEW APPLICATION ENTERED

                                        TM Staff and Location Information
                                                          TM Staff Information
          TM Attorney: REGAN, JOHN B                                    Law Office LAW OFFICE 113
                                                                        Assigned:
                                                              File Location
   Current Location: INTENT TO USE SECTION                        Date in Location: Nov. 28, 2023
        Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 35 of 57



       Generated on: This page was generated by TSDR on 2023-12-08 14:20:24 EST
                 Mark:




  US Serial Number: 90476617                                                        Application Filing Jan. 20, 2021
                                                                                                Date:
     US Registration 7087551                                                       Registration Date: Jun. 20, 2023
           Number:
             Register: Principal
           Mark Type: Trademark, Service Mark
     TM5 Common Status                                                           LIVE/REGISTRATION/Issued and Active
            Descriptor:
                                                                                 The trademark application has been registered with the Office.


               Status: Registered. The registration date is used to determine when post-registration maintenance documents are due.
         Status Date: Jun. 20, 2023
Publication Date:Nov. 30, 2021Notice of Allowance Date:Jan. 25, 2022

                                                                   Mark Information
          Mark Literal None
           Elements:
 Standard Character No
            Claim:
       Mark Drawing 2 - AN ILLUSTRATION DRAWING WITHOUT ANY WORDS(S)/ LETTER(S) /NUMBER(S)
              Type:
       Description of The mark consists of a stylized drawing of an aspen leaf.
               Mark:
       Design Search 05.03.25 - Leaf, single; Other leaves
            Code(s): 21.01.02 - Spades, on playing cards

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Lip balm
         International 003 - Primary Class                                              U.S Class(es): 001, 004, 006, 050, 051, 052
            Class(es):
        Class Status: ACTIVE
                Basis: 1(a)
            First Use: Aug. 10, 2021                                               Use in Commerce: Aug. 10, 2021

                  For: Candles
         International 004 - Primary Class                                              U.S Class(es): 001, 006, 015
            Class(es):
        Class Status: ACTIVE
                Basis: 1(a)
            First Use: Aug. 10, 2021                                               Use in Commerce: Aug. 10, 2021
Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 36 of 57



        For: Non-luminous and non-mechanical signs made of metal
International 006 - Primary Class                                         U.S Class(es): 002, 012, 013, 014, 023, 025, 050
   Class(es):
Class Status: ACTIVE
      Basis: 1(a)
   First Use: Aug. 10, 2021                                           Use in Commerce: Aug. 10, 2021

        For: Decorative magnets; sunglasses; goggles for sports; goggles and sunglasses accessories, namely, cases for sunglasses and cases for
             goggles; phone wallets, namely, wallets specially adapted to carry cellphones
International 009 - Primary Class                                         U.S Class(es): 021, 023, 026, 036, 038
   Class(es):
Class Status: ACTIVE
      Basis: 1(a)
   First Use: Aug. 10, 2021                                           Use in Commerce: Aug. 10, 2021

        For: Keychains; jewelry
International 014 - Primary Class                                         U.S Class(es): 002, 027, 028, 050
   Class(es):
Class Status: ACTIVE
      Basis: 1(a)
   First Use: Aug. 10, 2021                                           Use in Commerce: Aug. 10, 2021

        For: Printed note cards and envelopes; printed illustrations; photographic prints; blank journals for writing; paper notebooks; printed
             postcards; decals and stickers; pens; pen or pencil holders; books, namely, printed books in the fields of winter and summer outdoor
             sports and recreation; snack packaging boxes made of paper, sold empty; packaging containers made of paper; paper bags for
             packaging and paper containers for food and beverages
International 016 - Primary Class                                         U.S Class(es): 002, 005, 022, 023, 029, 037, 038, 050
   Class(es):
Class Status: ACTIVE
      Basis: 1(a)
   First Use: Aug. 10, 2021                                           Use in Commerce: Aug. 10, 2021

        For: Woven fabric tote bags, back packs, duffel bags; umbrellas; wallets; luggage tags; dog collars and leads; dog leashes
International 018 - Primary Class                                         U.S Class(es): 001, 002, 003, 022, 041
   Class(es):
Class Status: ACTIVE
      Basis: 1(a)
   First Use: Aug. 10, 2021                                           Use in Commerce: Aug. 10, 2021

        For: Work of art made of wood, namely, wall art; pillows, picture frames
International 020 - Primary Class                                         U.S Class(es): 002, 013, 022, 025, 032, 050
   Class(es):
Class Status: ACTIVE
      Basis: 1(a)
   First Use: Aug. 10, 2021                                           Use in Commerce: Aug. 10, 2021

        For: Mugs; coasters made of stone; household and kitchen goods, namely, drinking glasses, shot glasses, bottle openers, wine openers,
             cutting boards, serving trays, reusable glass water bottles sold empty; reusable plastic water bottles sold empty; reusable stainless
             steel water bottles sold empty; can holders, namely, insulating sleeve holders for beverage cans; dog bowls
International 021 - Primary Class                                         U.S Class(es): 002, 013, 023, 029, 030, 033, 040, 050
   Class(es):
Class Status: ACTIVE
      Basis: 1(a)
   First Use: Aug. 10, 2021                                           Use in Commerce: Aug. 10, 2021

        For: Blanket throws, cashmere blankets, pet blankets, children's blankets, baby blankets, woollen blankets, fleece blankets, bed blankets
International 024 - Primary Class                                         U.S Class(es): 042, 050
   Class(es):
Class Status: ACTIVE
Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 37 of 57



      Basis: 1(a)
   First Use: Aug. 10, 2021                                             Use in Commerce: Aug. 10, 2021

        For: Clothing, namely, base layers, vests, shirts, t-shirts, sweatshirts, jackets, ski pants, cycling jerseys, socks, belts, gloves, sweaters, tank
             tops, sweatpants, shorts; headwear, namely, visors, caps, hats and beanies; neck gaiters, scarves
International 025 - Primary Class                                            U.S Class(es): 022, 039
   Class(es):
Class Status: ACTIVE
      Basis: 1(a)
   First Use: Aug. 10, 2021                                             Use in Commerce: Aug. 10, 2021

        For: Ornamental cloth patches; ornamental novelty pins
International 026 - Primary Class                                            U.S Class(es): 037, 039, 040, 042, 050
   Class(es):
Class Status: ACTIVE
      Basis: 1(a)
   First Use: Aug. 10, 2021                                             Use in Commerce: Aug. 10, 2021

        For: Christmas tree ornaments; snow globes; plush toys; stuffed toy animals; games, namely, tabletop games, chess games, dart games,
             dice games, card games, board games; sporting goods and equipment, namely, skis, snowboards, ski poles; exercise equipment,
             namely, yoga pads in the nature of cushions, exercise balls, stability cushions, and resistance bands; pet toys
International 028 - Primary Class                                            U.S Class(es): 022, 023, 038, 050
   Class(es):
Class Status: ACTIVE
      Basis: 1(a)
   First Use: Aug. 10, 2021                                             Use in Commerce: Aug. 10, 2021

        For: Retail store services in the field of skiing and snowboarding equipment and accessories, apparel, and outdoor sporting goods; retail gift
             shops
International 035 - Primary Class                                            U.S Class(es): 100, 101, 102
   Class(es):
Class Status: ACTIVE
      Basis: 1(a)
   First Use: Aug. 10, 2021                                             Use in Commerce: Aug. 10, 2021

        For: Rental of vehicles which are used as sports equipment
International 039 - Primary Class                                            U.S Class(es): 100, 105
   Class(es):
Class Status: ACTIVE
      Basis: 1(a)
   First Use: Aug. 10, 2021                                             Use in Commerce: Aug. 10, 2021

        For: Ski and snowboard resort services; entertainment services in the nature of providing adventure park facilities, activities and programs;
             summer resort services, namely, providing recreational facilities for hiking, cycling, mountain biking, fishing, golfing, paragliding, tennis,
             climbing, camping; providing outdoor live music, namely, concerts; providing a website featuring information about ski-, snow sport-,
             mountain-, recreational-, and summer-resort services, and access pass and ticket programs, namely, information on sporting facilities
             at a resort; rental of skiing and snowboarding gear and equipment and sports equipment rentals, except vehicles
International 041 - Primary Class                                            U.S Class(es): 100, 101, 107
   Class(es):
Class Status: ACTIVE
      Basis: 1(a)
   First Use: Aug. 10, 2021                                             Use in Commerce: Aug. 10, 2021

        For: Hotel and guest hospitality services, namely, restaurant services and resort lodging offering food and lodging that promote the health
             and well-being of patrons; bar, café, cocktail lounge and restaurant services, including sit-down services of food and take-out
             restaurant services; catering services
International 043 - Primary Class                                            U.S Class(es): 100, 101
   Class(es):
Class Status: ACTIVE
      Basis: 1(a)
          Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 38 of 57



             First Use: Aug. 10, 2021                              Use in Commerce: Aug. 10, 2021

                                             Basis Information (Case Level)
             Filed Use: No                                             Currently Use: Yes
             Filed ITU: Yes                                            Currently ITU: No
             Filed 44D: No                                             Currently 44E: No
             Filed 44E: No                                             Currently 66A: No
             Filed 66A: No                                        Currently No Basis: No
      Filed No Basis: No

                                             Current Owner(s) Information
          Owner Name: Aspen Skiing Company
     Owner Address: 117 Aspen Airport Business Center
                    Aspen, COLORADO UNITED STATES 81611
   Legal Entity Type: LIMITED LIABILITY COMPANY                      State or Country COLORADO
                                                                    Where Organized:

                                        Attorney/Correspondence Information
                                                              Attorney of Record
      Attorney Name: Ian L. Saffer                                   Docket Number: 0964.101-TM
    Attorney Primary efs@adseroip.com                                  Attorney Email Yes
     Email Address:                                                       Authorized:
                                                               Correspondent
      Correspondent Ian L. Saffer
      Name/Address: Quarles & Brady LLP
                    8210 SOUTHPARK TERRACE
                    LITTLETON, COLORADO UNITED STATES 80120
                Phone: 303-268-0066                                                Fax: 833-793-0703
   Correspondent e- efs@adseroip.com                                Correspondent e- Yes
              mail:                                                  mail Authorized:
                                                    Domestic Representative - Not Found

                                                    Prosecution History
                                                                                                       Proceeding
   Date              Description
                                                                                                       Number
Jun. 20, 2023      NOTICE OF REGISTRATION CONFIRMATION EMAILED
Jun. 20, 2023      REGISTERED-PRINCIPAL REGISTER
May 17, 2023       NOTICE OF ACCEPTANCE OF STATEMENT OF USE E-MAILED
May 16, 2023       ALLOWED PRINCIPAL REGISTER - SOU ACCEPTED
Apr. 17, 2023      STATEMENT OF USE PROCESSING COMPLETE
Mar. 28, 2023      USE AMENDMENT FILED
Apr. 17, 2023      CASE ASSIGNED TO INTENT TO USE PARALEGAL
Mar. 28, 2023      TEAS STATEMENT OF USE RECEIVED
Mar. 13, 2023      TEAS CHANGE OF CORRESPONDENCE RECEIVED
Mar. 13, 2023      ATTORNEY/DOM.REP.REVOKED AND/OR APPOINTED
Mar. 13, 2023      TEAS REVOKE/APP/CHANGE ADDR OF ATTY/DOM REP RECEIVED
Jan. 26, 2023      NOTICE OF APPROVAL OF EXTENSION REQUEST E-MAILED
Jan. 24, 2023      SOU EXTENSION 2 GRANTED
Jan. 24, 2023      SOU EXTENSION 2 FILED
Jan. 24, 2023      SOU TEAS EXTENSION RECEIVED
Jul. 20, 2022      NOTICE OF APPROVAL OF EXTENSION REQUEST E-MAILED
Jul. 18, 2022      SOU EXTENSION 1 GRANTED
Jul. 18, 2022      SOU EXTENSION 1 FILED
Jul. 18, 2022      SOU TEAS EXTENSION RECEIVED
        Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 39 of 57



Jan. 25, 2022   NOA E-MAILED - SOU REQUIRED FROM APPLICANT
Nov. 30, 2021   OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED
Nov. 30, 2021   PUBLISHED FOR OPPOSITION
Nov. 10, 2021   NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED
Oct. 22, 2021   APPROVED FOR PUB - PRINCIPAL REGISTER
Sep. 24, 2021   TEAS/EMAIL CORRESPONDENCE ENTERED
Sep. 24, 2021   CORRESPONDENCE RECEIVED IN LAW OFFICE
Sep. 24, 2021   TEAS RESPONSE TO OFFICE ACTION RECEIVED
Aug. 14, 2021   NOTIFICATION OF NON-FINAL ACTION E-MAILED
Aug. 14, 2021   NON-FINAL ACTION E-MAILED
Aug. 14, 2021   NON-FINAL ACTION WRITTEN
Aug. 03, 2021   ASSIGNED TO EXAMINER
Apr. 22, 2021   NOTICE OF DESIGN SEARCH CODE E-MAILED
Apr. 21, 2021   NEW APPLICATION OFFICE SUPPLIED DATA ENTERED
Jan. 23, 2021   NEW APPLICATION ENTERED

                                       TM Staff and Location Information
                                                        TM Staff Information - None
                                                               File Location
   Current Location: PUBLICATION AND ISSUE SECTION                 Date in Location: May 16, 2023
    Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 40 of 57




Reg. No. 7,087,551                  Aspen Skiing Company (COLORADO LIMITED LIABILITY COMPANY)
                                    117 Aspen Airport Business Center
Registered Jun. 20, 2023            Aspen, COLORADO 81611
Int. Cl.: 3, 4, 6, 9, 14, 16, 18,   CLASS 3: Lip balm
20, 21, 24, 25, 26, 28, 35, 39,
                                    FIRST USE 8-10-2021; IN COMMERCE 8-10-2021
41, 43
                                    CLASS 4: Candles
Service Mark
                                    FIRST USE 8-10-2021; IN COMMERCE 8-10-2021
Trademark
                                    CLASS 6: Non-luminous and non-mechanical signs made of metal
Principal Register
                                    FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                                    CLASS 9: Decorative magnets; sunglasses; goggles for sports; goggles and sunglasses
                                    accessories, namely, cases for sunglasses and cases for goggles; phone wallets, namely,
                                    wallets specially adapted to carry cellphones

                                    FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                                    CLASS 14: Keychains; jewelry

                                    FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                                    CLASS 16: Printed note cards and envelopes; printed illustrations; photographic prints;
                                    blank journals for writing; paper notebooks; printed postcards; decals and stickers; pens;
                                    pen or pencil holders; books, namely, printed books in the fields of winter and summer
                                    outdoor sports and recreation; snack packaging boxes made of paper, sold empty;
                                    packaging containers made of paper; paper bags for packaging and paper containers for
                                    food and beverages

                                    FIRST USE 8-10-2021; IN COMMERCE 8-10-2021
                         CLASS
Case No. 1:23-cv-03355-SKC     18: Woven
                            Document   1-2fabric  tote12/20/23
                                              filed    bags, back USDC
                                                                  packs, duffel bags; umbrellas;
                                                                          Colorado      pg 41 of wallets;
                                                                                                   57
                               luggage tags; dog collars and leads; dog leashes

                               FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                               CLASS 20: Work of art made of wood, namely, wall art; pillows, picture frames

                               FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                               CLASS 21: Mugs; coasters made of stone; household and kitchen goods, namely,
                               drinking glasses, shot glasses, bottle openers, wine openers, cutting boards, serving
                               trays, reusable glass water bottles sold empty; reusable plastic water bottles sold empty;
                               reusable stainless steel water bottles sold empty; can holders, namely, insulating sleeve
                               holders for beverage cans; dog bowls

                               FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                               CLASS 24: Blanket throws, cashmere blankets, pet blankets, children's blankets, baby
                               blankets, woollen blankets, fleece blankets, bed blankets

                               FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                               CLASS 25: Clothing, namely, base layers, vests, shirts, t-shirts, sweatshirts, jackets, ski
                               pants, cycling jerseys, socks, belts, gloves, sweaters, tank tops, sweatpants, shorts;
                               headwear, namely, visors, caps, hats and beanies; neck gaiters, scarves

                               FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                               CLASS 26: Ornamental cloth patches; ornamental novelty pins

                               FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                               CLASS 28: Christmas tree ornaments; snow globes; plush toys; stuffed toy animals;
                               games, namely, tabletop games, chess games, dart games, dice games, card games,
                               board games; sporting goods and equipment, namely, skis, snowboards, ski poles;
                               exercise equipment, namely, yoga pads in the nature of cushions, exercise balls, stability
                               cushions, and resistance bands; pet toys

                               FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                               CLASS 35: Retail store services in the field of skiing and snowboarding equipment and
                               accessories, apparel, and outdoor sporting goods; retail gift shops

                               FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                               CLASS 39: Rental of vehicles which are used as sports equipment

                               FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                               CLASS 41: Ski and snowboard resort services; entertainment services in the nature of
                               providing adventure park facilities, activities and programs; summer resort services,
                               namely, providing recreational facilities for hiking, cycling, mountain biking, fishing,
                               golfing, paragliding, tennis, climbing, camping; providing outdoor live music, namely,
                               concerts; providing a website featuring information about ski-, snow sport-, mountain-,
                               recreational-, and summer-resort services, and access pass and ticket programs, namely,
                               information on sporting facilities at a resort; rental of skiing and snowboarding gear and
                               equipment and sports equipment rentals, except vehicles

                               FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                               CLASS 43: Hotel and guest hospitality services, namely, restaurant services and resort
                               lodging offering food and lodging that promote the health and well-being of patrons;
                               bar, café, cocktail lounge and restaurant services, including sit-down services of food




                                      Page: 2 of 4 / RN # 7087551
                         and take-out
Case No. 1:23-cv-03355-SKC   Document restaurant
                                            1-2services; catering services
                                                  filed 12/20/23        USDC Colorado pg 42 of 57
                             FIRST USE 8-10-2021; IN COMMERCE 8-10-2021

                             The mark consists of a stylized drawing of an aspen leaf.

                             SER. NO. 90-476,617, FILED 01-20-2021




                                    Page: 3 of 4 / RN # 7087551
Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 43 of 57
       REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

     WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
            DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


  Requirements in the First Ten Years*
  What and When to File:


      • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
        years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
         registration will continue in force for the remainder of the ten-year period, calculated from the registration
         date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


      • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
        for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


  Requirements in Successive Ten-Year Periods*
  What and When to File:

      • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
        between every 9th and 10th-year period, calculated from the registration date.*

  Grace Period Filings*

  The above documents will be accepted as timely if filed within six months after the deadlines listed above with the
  payment of an additional fee.

  *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
  extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use (or
  Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO). The
  time periods for filing are based on the U.S. registration date (not the international registration date). The
  deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally
  issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file
  renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying international
  registration at the International Bureau of the World Intellectual Property Organization, under Article 7 of the
  Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the date of the
  international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international
  registration, see http://www.wipo.int/madrid/en/.

  NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
  USPTO website for further information. With the exception of renewal applications for registered
  extensions of protection, you can file the registration maintenance documents referenced above online at
  http://www.uspto.gov.

  NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
  owners/holders who authorize e-mail communication and maintain a current e-mail address with the
  USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
  Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
  available at http://www.uspto.gov.




                                             Page: 4 of 4 / RN # 7087551
        Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 44 of 57



       Generated on: This page was generated by TSDR on 2023-12-08 14:21:02 EST
                 Mark: ASPENX




  US Serial Number: 90680774                                                        Application Filing Apr. 29, 2021
                                                                                                Date:
             Register: Principal
           Mark Type: Trademark
     TM5 Common Status                                                           LIVE/APPLICATION/Published for Opposition
            Descriptor:
                                                                                 A pending trademark application has been examined by the Office and has
                                                                                 been published in a way that provides an opportunity for the public to oppose
                                                                                 its registration.

               Status: Notice of Allowance (NOA) sent (issued) to the applicant. Applicant must file a Statement of Use or Extension Request within six
                       months of the NOA issuance date.
         Status Date: Nov. 14, 2023
Publication Date:Sep. 19, 2023Notice of Allowance Date:Nov. 14, 2023

                                                                   Mark Information
          Mark Literal ASPENX
           Elements:
 Standard Character No
            Claim:
       Mark Drawing 3 - AN ILLUSTRATION DRAWING WHICH INCLUDES WORD(S)/ LETTER(S) /NUMBER(S)
              Type:
       Description of The mark consists of the word "ASPENX" and a stylized drawing of an aspen leaf positioned to the left of the word "ASPENX".
               Mark:
       Design Search 05.03.25 - Leaf, single; Other leaves
            Code(s): 21.01.02 - Spades, on playing cards

                                                      Related Properties Information
           Parent Of: 90975904

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Mugs; coasters made of stone; household and kitchen goods, namely, drinking glasses, shot glasses, bottle openers, wine openers,
                       cutting boards, serving trays, reusable glass water bottles sold empty; reusable plastic water bottles sold empty; reusable stainless
                       steel water bottles sold empty; can holders, namely, insulating sleeve holders for beverage cans
         International 021 - Primary Class                                              U.S Class(es): 002, 013, 023, 029, 030, 033, 040, 050
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b)

                                                       Basis Information (Case Level)
            Filed Use: No                                                              Currently Use: No
          Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 45 of 57



             Filed ITU: Yes                                              Currently ITU: Yes
             Filed 44D: No                                              Currently 44E: No
             Filed 44E: No                                              Currently 66A: No
             Filed 66A: No                                          Currently No Basis: No
      Filed No Basis: No

                                              Current Owner(s) Information
          Owner Name: Aspen Skiing Company
     Owner Address: 117 Aspen Airport Business Center
                    Aspen, COLORADO UNITED STATES 81611
   Legal Entity Type: LIMITED LIABILITY COMPANY                       State or Country COLORADO
                                                                     Where Organized:

                                        Attorney/Correspondence Information
                                                              Attorney of Record
      Attorney Name: Ian L. Saffer                                     Docket Number: 0964.104-TM
    Attorney Primary efs@adseroip.com                                   Attorney Email Yes
     Email Address:                                                        Authorized:
                                                                Correspondent
      Correspondent Ian L. Saffer
      Name/Address: Quarles & Brady LLP
                    8210 SOUTHPARK TERRACE
                    LITTLETON, COLORADO UNITED STATES 80120
                Phone: 303-268-0066                                                Fax: 303-268-0065
   Correspondent e- efs@adseroip.com                                 Correspondent e- Yes
              mail:                                                   mail Authorized:
                                                     Domestic Representative - Not Found

                                                     Prosecution History
                                                                                                       Proceeding
   Date              Description
                                                                                                       Number
Nov. 14, 2023      NOA E-MAILED - SOU REQUIRED FROM APPLICANT
Oct. 16, 2023      CASE ASSIGNED TO INTENT TO USE PARALEGAL
Sep. 19, 2023      OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED
Sep. 19, 2023      PUBLISHED FOR OPPOSITION
Aug. 30, 2023      NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED
Aug. 14, 2023      APPROVED FOR PUB - PRINCIPAL REGISTER
Jul. 17, 2023      TEAS/EMAIL CORRESPONDENCE ENTERED
Jul. 17, 2023      CORRESPONDENCE RECEIVED IN LAW OFFICE
Jul. 17, 2023      APPLICANT/CORRESPONDENCE CHANGES (NON-RESPONSIVE) ENTERED
Jul. 13, 2023      ASSIGNED TO LIE
Mar. 13, 2023      TEAS CHANGE OF CORRESPONDENCE RECEIVED
Mar. 13, 2023      ATTORNEY/DOM.REP.REVOKED AND/OR APPOINTED
Mar. 13, 2023      TEAS REVOKE/APP/CHANGE ADDR OF ATTY/DOM REP RECEIVED
Mar. 13, 2023      TEAS RESPONSE TO SUSPENSION INQUIRY RECEIVED
Mar. 06, 2023      REPORT COMPLETED SUSPENSION CHECK CASE STILL SUSPENDED
Jun. 03, 2022      REPORT COMPLETED SUSPENSION CHECK CASE STILL SUSPENDED
Nov. 03, 2021      NOTIFICATION OF LETTER OF SUSPENSION E-MAILED
Nov. 03, 2021      LETTER OF SUSPENSION E-MAILED
Nov. 03, 2021      SUSPENSION LETTER WRITTEN
Oct. 28, 2021      DIVISIONAL PROCESSING COMPLETE
Oct. 06, 2021      DIVISIONAL REQUEST RECEIVED
Oct. 27, 2021      CASE ASSIGNED TO INTENT TO USE PARALEGAL
Oct. 07, 2021      TEAS/EMAIL CORRESPONDENCE ENTERED
Oct. 06, 2021      CORRESPONDENCE RECEIVED IN LAW OFFICE
        Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 46 of 57



Oct. 06, 2021   TEAS RESPONSE TO OFFICE ACTION RECEIVED
Oct. 06, 2021   TEAS REQUEST TO DIVIDE RECEIVED
Aug. 14, 2021   NOTIFICATION OF NON-FINAL ACTION E-MAILED
Aug. 14, 2021   NON-FINAL ACTION E-MAILED
Aug. 14, 2021   NON-FINAL ACTION WRITTEN
Aug. 11, 2021   ASSIGNED TO EXAMINER
Aug. 04, 2021   NOTICE OF DESIGN SEARCH CODE E-MAILED
Aug. 03, 2021   NEW APPLICATION OFFICE SUPPLIED DATA ENTERED
May 03, 2021    NEW APPLICATION ENTERED

                                       TM Staff and Location Information
                                                            TM Staff Information
        TM Attorney: REGAN, JOHN B                                        Law Office LAW OFFICE 113
                                                                          Assigned:
                                                               File Location
   Current Location: INTENT TO USE SECTION                          Date in Location: Nov. 14, 2023
        Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 47 of 57



       Generated on: This page was generated by TSDR on 2023-12-08 14:23:41 EST
                 Mark: ASPEN ONE




  US Serial Number: 98228313                                                        Application Filing Oct. 17, 2023
                                                                                                Date:
             Register: Principal
           Mark Type: Trademark, Service Mark
     TM5 Common Status                                                           LIVE/APPLICATION/Awaiting Examination
            Descriptor:
                                                                                 The trademark application has been accepted by the Office (has met the
                                                                                 minimum filing requirements) and has not yet been assigned to an examiner.


               Status: New application awaiting assignment to an examining attorney. See current trademark processing wait times for more information.
         Status Date: Oct. 24, 2023



                                                                   Mark Information
          Mark Literal ASPEN ONE
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Clothing, namely, base layers, vests, shirts, t-shirts, sweatshirts, jackets, ski pants, cycling jerseys, socks, belts, gloves, sweaters, tank
                       tops, sweatpants, shorts; headwear, namely, visors, caps, hats and beanies; neck gaiters, scarves
         International 025 - Primary Class                                              U.S Class(es): 022, 039
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b)

                  For: Ski and snowboard resort services; entertainment services in the nature of providing adventure park facilities, activities and programs;
                       summer resort services, namely, providing recreational facilities for hiking, cycling, mountain biking, fishing, paragliding, climbing,
                       camping; providing outdoor live music, namely, concerts; providing a website featuring information about ski-, snow sport-, mountain-,
                       recreational-, and summer-resort services, and access pass and ticket programs, namely, information on sporting facilities at a resort;
                       rental of skiing and snowboarding gear and equipment, and sports equipment rentals, except vehicles
         International 041 - Primary Class                                              U.S Class(es): 100, 101, 107
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b)

                  For: Hotel and guest hospitality services, namely, restaurant services and resort lodging offering food and lodging that promote the health
                       and well-being of patrons; bar, café, cocktail lounge and restaurant services, including sit-down services of food and take-out
                       restaurant services; catering services
         International 043 - Primary Class                                              U.S Class(es): 100, 101
            Class(es):
        Class Status: ACTIVE
          Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 48 of 57



                Basis: 1(b)

                                               Basis Information (Case Level)
             Filed Use: No                                            Currently Use: No
             Filed ITU: Yes                                            Currently ITU: Yes
             Filed 44D: No                                            Currently 44E: No
             Filed 44E: No                                            Currently 66A: No
             Filed 66A: No                                        Currently No Basis: No
      Filed No Basis: No

                                               Current Owner(s) Information
          Owner Name: Aspen Skiing Company
     Owner Address: 117 Aspen Airport Business Center
                    Aspen, COLORADO UNITED STATES 81611
   Legal Entity Type: LIMITED LIABILITY COMPANY                     State or Country COLORADO
                                                                   Where Organized:

                                        Attorney/Correspondence Information
                                                            Attorney of Record
     Attorney Name: Ian L. Saffer                                    Docket Number: 195964.00158
    Attorney Primary tm-dept@quarles.com                              Attorney Email Yes
     Email Address:                                                      Authorized:
                                                              Correspondent
     Correspondent IAN L. SAFFER
     Name/Address: QUARLES & BRADY LLP
                   8210 SOUTHPARK TERRACE
                   LITTLETON, COLORADO UNITED STATES 80120
                Phone: 303-268-0066                                               Fax: 833-793-0703
   Correspondent e- tm-dept@quarles.com                            Correspondent e- Yes
              mail:                                                 mail Authorized:
                                                    Domestic Representative - Not Found

                                                    Prosecution History
                                                                                                      Proceeding
   Date              Description
                                                                                                      Number
Oct. 24, 2023      NEW APPLICATION OFFICE SUPPLIED DATA ENTERED
Oct. 20, 2023      NEW APPLICATION ENTERED

                                             TM Staff and Location Information
                                                           TM Staff Information
          TM Attorney:                                                    Law Office Not Assigned
                                                                          Assigned:
                                                               File Location
   Current Location: NEW APPLICATION PROCESSING                     Date in Location: Oct. 24, 2023
        Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 49 of 57



       Generated on: This page was generated by TSDR on 2023-12-08 14:24:07 EST
                 Mark: ASPEN ONE




  US Serial Number: 98228317                                                        Application Filing Oct. 17, 2023
                                                                                                Date:
             Register: Principal
           Mark Type: Trademark, Service Mark
     TM5 Common Status                                                           LIVE/APPLICATION/Awaiting Examination
            Descriptor:
                                                                                 The trademark application has been accepted by the Office (has met the
                                                                                 minimum filing requirements) and has not yet been assigned to an examiner.


               Status: New application awaiting assignment to an examining attorney. See current trademark processing wait times for more information.
         Status Date: Oct. 24, 2023



                                                                   Mark Information
          Mark Literal ASPEN ONE
           Elements:
 Standard Character No
            Claim:
       Mark Drawing 3 - AN ILLUSTRATION DRAWING WHICH INCLUDES WORD(S)/ LETTER(S) /NUMBER(S)
              Type:
       Description of The mark consists of the stylized wording "ASPEN ONE" and a stylized drawing of an aspen leaf positioned to the left of the stylized
               Mark: wording "ASPEN ONE".
   Color(s) Claimed: Color is not claimed as a feature of the mark.
       Design Search 05.03.25 - Leaf, single; Other leaves
            Code(s):

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Clothing, namely, base layers, vests, shirts, t-shirts, sweatshirts, jackets, ski pants, cycling jerseys, socks, belts, gloves, sweaters, tank
                       tops, sweatpants, shorts; headwear, namely, visors, caps, hats and beanies; neck gaiters, scarves
         International 025 - Primary Class                                              U.S Class(es): 022, 039
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b)

                  For: Ski and snowboard resort services; entertainment services in the nature of providing adventure park facilities, activities and programs;
                       summer resort services, namely, providing recreational facilities for hiking, cycling, mountain biking, fishing, paragliding, climbing,
                       camping; providing outdoor live music, namely, concerts; providing a website featuring information about ski-, snow sport-, mountain-,
                       recreational-, and summer-resort services, and access pass and ticket programs, namely, information on sporting facilities at a resort;
                       rental of skiing and snowboarding gear and equipment, and sports equipment rentals, except vehicles
         International 041 - Primary Class                                              U.S Class(es): 100, 101, 107
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b)
          Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 50 of 57



                  For: Hotel and guest hospitality services, namely, restaurant services and resort lodging offering food and lodging that promote the health
                       and well-being of patrons; bar, café, cocktail lounge and restaurant services, including sit-down services of food and take-out
                       restaurant services; catering services
          International 043 - Primary Class                                         U.S Class(es): 100, 101
             Class(es):
          Class Status: ACTIVE
                Basis: 1(b)

                                                    Basis Information (Case Level)
             Filed Use: No                                                          Currently Use: No
             Filed ITU: Yes                                                          Currently ITU: Yes
             Filed 44D: No                                                          Currently 44E: No
             Filed 44E: No                                                          Currently 66A: No
             Filed 66A: No                                                    Currently No Basis: No
      Filed No Basis: No

                                                    Current Owner(s) Information
          Owner Name: Aspen Skiing Company
     Owner Address: 117 Aspen Airport Business Center
                    Aspen, COLORADO UNITED STATES 81611
   Legal Entity Type: LIMITED LIABILITY COMPANY                                  State or Country COLORADO
                                                                                Where Organized:

                                              Attorney/Correspondence Information
                                                                         Attorney of Record
     Attorney Name: Ian L. Saffer                                                 Docket Number: 195964.00159
    Attorney Primary tm-dept@quarles.com                                            Attorney Email Yes
     Email Address:                                                                    Authorized:
                                                                           Correspondent
     Correspondent IAN L. SAFFER
     Name/Address: QUARLES & BRADY LLP
                   8210 SOUTHPARK TERRACE
                   LITTLETON, COLORADO UNITED STATES 80120
                Phone: 303-268-0066                                                            Fax: 833-793-0703
   Correspondent e- tm-dept@quarles.com                                          Correspondent e- Yes
              mail:                                                               mail Authorized:
                                                               Domestic Representative - Not Found

                                                               Prosecution History
                                                                                                                                                       Proceeding
   Date               Description
                                                                                                                                                       Number
Oct. 25, 2023      NOTICE OF DESIGN SEARCH CODE E-MAILED
Oct. 24, 2023      NEW APPLICATION OFFICE SUPPLIED DATA ENTERED
Oct. 20, 2023      NEW APPLICATION ENTERED

                                                TM Staff and Location Information
                                                                        TM Staff Information
          TM Attorney:                                                                  Law Office Not Assigned
                                                                                        Assigned:
                                                                             File Location
   Current Location: NEW APPLICATION PROCESSING                                  Date in Location: Oct. 24, 2023
        Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 51 of 57



       Generated on: This page was generated by TSDR on 2023-12-08 14:24:37 EST
                 Mark: ASPEN SNOWMASS




  US Serial Number: 90476612                                                        Application Filing Jan. 20, 2021
                                                                                                Date:
             Register: Principal
           Mark Type: Trademark
     TM5 Common Status                                                           LIVE/APPLICATION/Published for Opposition
            Descriptor:
                                                                                 A pending trademark application has been examined by the Office and has
                                                                                 been published in a way that provides an opportunity for the public to oppose
                                                                                 its registration.

               Status: Notice of Allowance (NOA) sent (issued) to the applicant. Applicant must file a Statement of Use or Extension Request within six
                       months of the NOA issuance date.
         Status Date: Nov. 07, 2023
Publication Date:Sep. 12, 2023Notice of Allowance Date:Nov. 07, 2023

                                                                   Mark Information
          Mark Literal ASPEN SNOWMASS
           Elements:
 Standard Character No
            Claim:
       Mark Drawing 3 - AN ILLUSTRATION DRAWING WHICH INCLUDES WORD(S)/ LETTER(S) /NUMBER(S)
              Type:
       Description of The mark consists of the word "ASPEN" stacked on the top of the word "SNOWMASS", and a stylized drawing of an aspen leaf
               Mark: positioned to the left of the stacked words.
            Acquired In part
      Distinctiveness
                Claim:
      Distinctiveness "ASPEN SNOWMASS"
            Limitation
           Statement:
       Design Search 05.03.25 - Leaf, single; Other leaves
            Code(s): 21.01.02 - Spades, on playing cards

                                                      Related Properties Information
           Parent Of: 90975905

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Mugs; coasters made of stone; household and kitchen goods, namely, drinking glasses, shot glasses, bottle openers, wine openers,
                       cutting boards, serving trays, reusable glass water bottles sold empty; reusable plastic water bottles sold empty; reusable stainless
                       steel water bottles sold empty; can holders, namely, insulating sleeve holders for beverage cans
         International 021 - Primary Class                                              U.S Class(es): 002, 013, 023, 029, 030, 033, 040, 050
            Class(es):
        Class Status: ACTIVE
          Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 52 of 57



                Basis: 1(b)

                                              Basis Information (Case Level)
             Filed Use: No                                              Currently Use: No
             Filed ITU: Yes                                              Currently ITU: Yes
             Filed 44D: No                                              Currently 44E: No
             Filed 44E: No                                              Currently 66A: No
             Filed 66A: No                                          Currently No Basis: No
      Filed No Basis: No

                                              Current Owner(s) Information
          Owner Name: Aspen Skiing Company
     Owner Address: 117 Aspen Airport Business Center
                    Aspen, COLORADO UNITED STATES 81611
   Legal Entity Type: LIMITED LIABILITY COMPANY                       State or Country COLORADO
                                                                     Where Organized:

                                        Attorney/Correspondence Information
                                                              Attorney of Record
      Attorney Name: Ian L. Saffer                                     Docket Number: 0964.102-TM
    Attorney Primary efs@adseroip.com                                   Attorney Email Yes
     Email Address:                                                        Authorized:
                                                                Correspondent
      Correspondent Ian L. Saffer
      Name/Address: Quarles & Brady LLP
                    8210 SOUTHPARK TERRACE
                    LITTLETON, COLORADO UNITED STATES 80120
                Phone: 303-268-0066                                                Fax: 303-268-0065
   Correspondent e- efs@adseroip.com                                 Correspondent e- Yes
              mail:                                                   mail Authorized:
                                                     Domestic Representative - Not Found

                                                     Prosecution History
                                                                                                       Proceeding
   Date              Description
                                                                                                       Number
Nov. 07, 2023      NOA E-MAILED - SOU REQUIRED FROM APPLICANT
Oct. 16, 2023      CASE ASSIGNED TO INTENT TO USE PARALEGAL
Sep. 12, 2023      OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED
Sep. 12, 2023      PUBLISHED FOR OPPOSITION
Aug. 23, 2023      NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED
Aug. 10, 2023      APPROVED FOR PUB - PRINCIPAL REGISTER
Jul. 14, 2023      TEAS/EMAIL CORRESPONDENCE ENTERED
Jul. 14, 2023      CORRESPONDENCE RECEIVED IN LAW OFFICE
Jul. 14, 2023      APPLICANT/CORRESPONDENCE CHANGES (NON-RESPONSIVE) ENTERED
Jul. 13, 2023      ASSIGNED TO LIE
Mar. 13, 2023      TEAS CHANGE OF CORRESPONDENCE RECEIVED
Mar. 13, 2023      ATTORNEY/DOM.REP.REVOKED AND/OR APPOINTED
Mar. 13, 2023      TEAS REVOKE/APP/CHANGE ADDR OF ATTY/DOM REP RECEIVED
Mar. 13, 2023      TEAS RESPONSE TO SUSPENSION INQUIRY RECEIVED
Feb. 02, 2023      REPORT COMPLETED SUSPENSION CHECK CASE STILL SUSPENDED
Jun. 06, 2022      REPORT COMPLETED SUSPENSION CHECK CASE STILL SUSPENDED
Nov. 04, 2021      NOTIFICATION OF LETTER OF SUSPENSION E-MAILED
Nov. 04, 2021      LETTER OF SUSPENSION E-MAILED
Nov. 04, 2021      SUSPENSION LETTER WRITTEN
        Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 53 of 57



Nov. 01, 2021   DIVISIONAL PROCESSING COMPLETE
Oct. 08, 2021   DIVISIONAL REQUEST RECEIVED
Oct. 27, 2021   CASE ASSIGNED TO INTENT TO USE PARALEGAL
Oct. 09, 2021   TEAS/EMAIL CORRESPONDENCE ENTERED
Oct. 08, 2021   CORRESPONDENCE RECEIVED IN LAW OFFICE
Oct. 08, 2021   TEAS RESPONSE TO OFFICE ACTION RECEIVED
Oct. 08, 2021   TEAS REQUEST TO DIVIDE RECEIVED
Aug. 14, 2021   NOTIFICATION OF NON-FINAL ACTION E-MAILED
Aug. 14, 2021   NON-FINAL ACTION E-MAILED
Aug. 14, 2021   NON-FINAL ACTION WRITTEN
Aug. 03, 2021   ASSIGNED TO EXAMINER
Apr. 22, 2021   NOTICE OF DESIGN SEARCH CODE E-MAILED
Apr. 21, 2021   NEW APPLICATION OFFICE SUPPLIED DATA ENTERED
Jan. 23, 2021   NEW APPLICATION ENTERED

                                       TM Staff and Location Information
                                                            TM Staff Information
        TM Attorney: REGAN, JOHN B                                        Law Office LAW OFFICE 113
                                                                          Assigned:
                                                               File Location
   Current Location: INTENT TO USE SECTION                          Date in Location: Nov. 07, 2023
        Case No. 1:23-cv-03355-SKC Document 1-2 filed 12/20/23 USDC Colorado pg 54 of 57



       Generated on: This page was generated by TSDR on 2023-12-08 14:25:56 EST
                 Mark: ASPENX




  US Serial Number: 97638137                                                        Application Filing Oct. 19, 2022
                                                                                                Date:
             Register: Principal
           Mark Type: Trademark, Service Mark
     TM5 Common Status                                                           LIVE/APPLICATION/Published for Opposition
            Descriptor:
                                                                                 A pending trademark application has been examined by the Office and has
                                                                                 been published in a way that provides an opportunity for the public to oppose
                                                                                 its registration.

               Status: Notice of Allowance (NOA) sent (issued) to the applicant. Applicant must file a Statement of Use or Extension Request within six
                       months of the NOA issuance date.
         Status Date: Nov. 28, 2023
Publication Date:Oct. 03, 2023Notice of Allowance Date:Nov. 28, 2023

                                                                   Mark Information
          Mark Literal ASPENX
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Lip balm
         International 003 - Primary Class                                              U.S Class(es): 001, 004, 006, 050, 051, 052
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b)

                  For: Candles
         International 004 - Primary Class                                              U.S Class(es): 001, 006, 015
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b)

                  For: Non-luminous and non-mechanical signs made of metal
         International 006 - Primary Class                                              U.S Class(es): 002, 012, 013, 014, 023, 025, 050
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b)

                  For: Decorative magnets; sunglasses; goggles for sports; goggles and sunglasses accessories, namely, cases for sunglasses and cases for
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              goggles; phone wallets, namely, wallets specially adapted to carry cellphones
International 009 - Primary Class                                            U.S Class(es): 021, 023, 026, 036, 038
   Class(es):
Class Status: ACTIVE
      Basis: 1(b)

        For: Keychains; jewelry
International 014 - Primary Class                                            U.S Class(es): 002, 027, 028, 050
   Class(es):
Class Status: ACTIVE
      Basis: 1(b)

        For: Books, namely, printed books in the field of winter and summer outdoor sports and recreation; snack packaging boxes made of paper,
             sold empty
International 016 - Primary Class                                            U.S Class(es): 002, 005, 022, 023, 029, 037, 038, 050
   Class(es):
Class Status: ACTIVE
      Basis: 1(b)

        For: Woven fabric tote bags, back packs, duffel bags; umbrellas; wallets; luggage tags
International 018 - Primary Class                                            U.S Class(es): 001, 002, 003, 022, 041
   Class(es):
Class Status: ACTIVE
      Basis: 1(b)

        For: Work of art made of wood, namely, wall art; pillows, picture frames
International 020 - Primary Class                                            U.S Class(es): 002, 013, 022, 025, 032, 050
   Class(es):
Class Status: ACTIVE
      Basis: 1(b)

        For: Mugs; coasters made of stone; household and kitchen goods, namely, drinking glasses, shot glasses, bottle openers, wine openers,
             cutting boards, serving trays, reusable glass water bottles sold empty; reusable plastic water bottles sold empty; reusable stainless
             steel water bottles sold empty; can holders, namely, insulating sleeve holders for beverage cans
International 021 - Primary Class                                            U.S Class(es): 002, 013, 023, 029, 030, 033, 040, 050
   Class(es):
Class Status: ACTIVE
      Basis: 1(b)

        For: Blanket throws, cashmere blankets, pet blankets, children's blankets, baby blankets, woollen blankets, fleece blankets, bed blankets
International 024 - Primary Class                                            U.S Class(es): 042, 050
   Class(es):
Class Status: ACTIVE
      Basis: 1(b)

        For: Clothing, namely, base layers, vests, shirts, t-shirts, sweatshirts, jackets, ski pants, cycling jerseys, socks, belts, gloves, sweaters, tank
             tops, sweatpants, shorts; headwear, namely, visors, caps, hats and beanies; neck gaiters, scarves
International 025 - Primary Class                                            U.S Class(es): 022, 039
   Class(es):
Class Status: ACTIVE
      Basis: 1(b)

        For: Ornamental cloth patches; ornamental novelty pins
International 026 - Primary Class                                            U.S Class(es): 037, 039, 040, 042, 050
   Class(es):
Class Status: ACTIVE
      Basis: 1(b)

        For: Christmas tree ornaments; snow globes; plush toys; stuffed toy animals; games, namely, tabletop games, chess games, dart games,
             dice games, card games, board games; sporting goods and equipment, namely, skis, snowboards, ski poles; exercise equipment,
             namely, exercise balls, stability cushions, and resistance bands
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    International 028 - Primary Class                                           U.S Class(es): 022, 023, 038, 050
       Class(es):
    Class Status: ACTIVE
           Basis: 1(b)

             For: Retail store services in the field of skiing and snowboarding equipment and accessories, apparel, and outdoor sporting goods; retail gift
                  shops; promoting and administering amateur ski programs and activities
    International 035 - Primary Class                                           U.S Class(es): 100, 101, 102
       Class(es):
    Class Status: ACTIVE
           Basis: 1(b)

             For: ski-resort and snowboard-resort services; entertainment services in the nature of providing adventure park facilities; summer resort
                  services, namely, providing recreational facilities for hiking, cycling, mountain biking, fishing, paragliding, climbing, and camping;
                  providing outdoor live music, namely, concerts; providing a website featuring information about ski-resort entertainment, snow-sport-
                  resort entertainment, mountain-sport-resort entertainment, recreational-resort entertainment, and summer-resort entertainment
                  services, and about access-pass and ticket programs, namely, information on sporting facilities at a resort; rental of skiing and
                  snowboarding gear and equipment, and sports-equipment rentals, except vehicles
    International 041 - Primary Class                                           U.S Class(es): 100, 101, 107
       Class(es):
    Class Status: ACTIVE
           Basis: 1(b)

             For: providing a website featuring information about summer-resort accommodations; bar, café, cocktail-lounge and restaurant services
    International 043 - Primary Class                                           U.S Class(es): 100, 101
       Class(es):
    Class Status: ACTIVE
           Basis: 1(b)

                                               Basis Information (Case Level)
       Filed Use: No                                                           Currently Use: No
       Filed ITU: Yes                                                           Currently ITU: Yes
       Filed 44D: No                                                           Currently 44E: No
       Filed 44E: No                                                           Currently 66A: No
       Filed 66A: No                                                      Currently No Basis: No
  Filed No Basis: No

                                               Current Owner(s) Information
    Owner Name: Aspen Skiing Company
 Owner Address: 117 Aspen Airport Business Center
                Aspen, COLORADO UNITED STATES 81611
Legal Entity Type: LIMITED LIABILITY COMPANY                                State or Country COLORADO
                                                                           Where Organized:

                                        Attorney/Correspondence Information
                                                                    Attorney of Record
  Attorney Name: Ian L. Saffer                                               Docket Number: 0964.110-TM
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           mail:                                                             mail Authorized:
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                                                   Domestic Representative - Not Found

                                                   Prosecution History
                                                                                                    Proceeding
   Date             Description
                                                                                                    Number
Nov. 28, 2023    NOA E-MAILED - SOU REQUIRED FROM APPLICANT
Oct. 03, 2023    OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED
Oct. 03, 2023    PUBLISHED FOR OPPOSITION
Sep. 13, 2023    NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED
Aug. 28, 2023    APPROVED FOR PUB - PRINCIPAL REGISTER
Jul. 31, 2023    EXAMINER'S AMENDMENT ENTERED
Jul. 31, 2023    NOTIFICATION OF EXAMINERS AMENDMENT E-MAILED
Jul. 31, 2023    EXAMINERS AMENDMENT E-MAILED
Jul. 31, 2023    EXAMINERS AMENDMENT -WRITTEN
Jul. 24, 2023    ASSIGNED TO EXAMINER
Mar. 13, 2023    TEAS CHANGE OF CORRESPONDENCE RECEIVED
Mar. 13, 2023    ATTORNEY/DOM.REP.REVOKED AND/OR APPOINTED
Mar. 13, 2023    TEAS REVOKE/APP/CHANGE ADDR OF ATTY/DOM REP RECEIVED
Nov. 02, 2022    NEW APPLICATION OFFICE SUPPLIED DATA ENTERED
Oct. 22, 2022    NEW APPLICATION ENTERED

                                        TM Staff and Location Information
                                                          TM Staff Information
          TM Attorney: REGAN, JOHN B                                    Law Office LAW OFFICE 113
                                                                        Assigned:
                                                              File Location
   Current Location: INTENT TO USE SECTION                        Date in Location: Nov. 28, 2023
